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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                                  www.flsb.uscourts.gov

In re:                                                             Case No. 17-19455-PGH
                                                                   (Jointly Administered)
CHARIOTS OF PALM BEACH, INC,                                       Case No.: 17-19458-PGH
and H&S, INC.,
                                                                   Chapter 11

            Debtors in Possession.
_____________________________________/


 DEBTORS-IN-POSSESSION, CHARIOTS OF PALM BEACH, INC. AND H&S, INC.’S,
  EMERGENCY MOTION TO CONVERT JOINTLY ADMINISTERED CHAPTER 11
                         CASES TO CHAPTER 7

                       Rule 9075-1 Statement of Exingent Circumstances
Despite Debtors-in-Possessions’ best efforts to effectuate relief to victims of the apparent Ponzi
scheme initiated by Debtors’ prior principal and to protect the interests of all creditors in these
proceedings, immediate conversion to chapter 7 is in the best interests of the estate and its
creditors. There is no cash collateral from which to continue to conduct the ongoing business
of Debtor, Chariots of Palm Beach, Inc. Due to the number of innocent victims who have never
received titles or registrations for vehicles purchased pre-petition and due to the need for
immediate relief for such victims, conversion to Chapter 7 and appointment of a Chapter 7
Trustee should be considered on an emergency, expedited basis to avoid continuing harm to
the interests of innocent victims in these proceedings. Additionally, given competing motions
for relief from stay by NextGear Capital and Flagler Bank, disposition of inventory and the
$1,229,323,19 in DIP funds being held by the proposed CRO on behalf of Chariots of Palm
Beach, Inc. and $4,700.92 in DIP funds being held on behalf of H&S, Inc., should be determined
post-conversion so as to not prejudice the rights of a chapter 7 trustee.

         Debtors-In-Possession, Chariots of Palm Beach, Inc. (“Chariots”) and H&S, Inc. (“H&S”)

(the “DIP”), by and through their undersigned counsel, pursuant to 11 U.S.C. § 1112 respectfully

requests conversion, on an emergency basis, of these jointly administered Chapter 11 proceedings to

Chapter 7 and states:

         1.     On July 27, 2017 DIP filed a voluntary petition for relief under Chapter 11 of the

Bankruptcy Code (the “Petition”). Chariots of Palm Beach, Inc. formerly sold at retail, high-end

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pre-owned automobiles. Jointly administered Debtor, H&S, Inc. was the luxury rental affiliate of

Chariots. Shortly after undersigned’s retention, it was realized that the Debtors’ former principal

had defrauded creditors and other third persons and entities, resulting in the requested resignation of

Hugh Bate, the former president and the appointment of Charles Sharoubim as the new president of

the Debtor entities and the retention of Michael Phelan of Moecker & Associates as Chief

Restructuring Officer.

       2.      Pursuant to Bankruptcy Code §§1107(a) and 1108, the Debtor-in-Possession

continues to operate its business and manage its financial affairs. No Trustee, examiner, or statutory

committee have been appointed in this Chapter 11 case.

       3.      The Chapter 11 Case are being administered jointly pursuant to the Order Jointly

Administering Chapter 11 Cases [ECF No. 24] pursuant to Bankruptcy Rule 1015(b) and Local Rule

1015-1(b).

       4.      A detailed description of the DIP’s businesses and circumstances leading to the

Chapter 11 filing is set forth in the filed Chapter 11 Case Management Summary [ECF No. 45].

       5.      On September 13, 2017, after selling approximately $800,000 worth of motor

vehicles, post-petition, Debtors’ further use of cash collateral was denied upon the objection of

secured creditor, NextGear Capital. [ECF No. 238].

       6.      Primarily due to the efforts of the new President, Charles Sharaboim, the DIP

accounts currently show net cash flow to the estate of approximately $650,000. Attached hereto as

Exhibits 1 and 2, respectively, are the DIP account summaries for Chariots of Palm Beach, Inc. and

H&S, Inc. The Chariots of Palm Beach DIP account currently shows a balance in the amount of

$1,229,323.19. Assuming the 80% payoff rate for NextGear Capital, a net of approximately



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$650,000 has inured to the benefit of the estate. This amount will increase upon consummation of

one additional pending sale.

        7.       The original intention of the Debtors was to maximize return on sales of inventory at

retail until such time as the ongoing business concern could be sold and to establish protocols for the

release of titles and registrations to approximately 70 innocent pre-petition, bona-fide purchasers.

Unfortunately, due to circumstances beyond the control of the Debtors-in-Possession, the budget

requirements were not met and the proposed CRO, Michael Phelan, testified at the hearing on

Debtors-in-Possession’s Third Cash Collateral motion [ECF No. 73] that the Debtors were operating

at a net loss. Additionally, the hoped-for buyer never materialized. In part due to the lack of a

forensic analysis of the layers of fraud which allowed the former principal to move inventory from

one secured lender to another, the proposed CRO1 has been unable to lock-down numbers pertaining

to inventory values at time of filing. Additionally, the former principal of the Debtors kept a manual

check system with no back-up accounting software, making the analysis required in this type of case

extremely challenging. Nevertheless, the Debtors-in-Possession are in the process of finalizing

amended schedules and statements so that a more accurate portrayal of the assets and liabilities can

be handed-off to a chapter 7 trustee. Unfortunately, given that there is no longer cash collateral for

payment of employees, Debtors-in-Possession are unable to continue to investigate their own

financial affairs at the DIPs’ former place of business.

        8.       Undersigned counsel and his staff have been engaged virtually full-time for this case.

Hundreds of pages of data were made available to all creditors through DropBox and now, through




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 Michael Moecker & Associates has graciously agreed to allow Mr. Phelan’s application for employment as CRO to be
withdrawn. It was agreed that no compensation will be sought and the initial retainer of $35,000 will be returned to
the estate.
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a safer platform known as “ShareFile”. The Court is invited to inspect these records online. Many

hours were spent analyzing spreadsheets, checking account records and a multitude of related

materials. Numerous email and phone communications with legal counsel and parties who have not

yet been provided titles or who have expired or soon-to-be-expiring registrations are fielded, daily.

Nevertheless, aside from the immediate release of all electronic titles by Legacy Bank of Florida,

titles have not been forthcoming from NextGear. Even titles for post-petition sales, which account

for the resulting net profit to the estate, have not yet been released.          While the appropriate

documentation has been furnished to NextGear and no questions have yet been asked of undersigned

or of the Debtor-in-Possession or proposed CRO, it is unknown how long this process will take

without further court intervention so that deadlines can be set for release of titles.       NextGear’s

counsel suggested that Debtors-in-Possession refer the post-petition buyers directly to NextGear

which would cause bona-fide post-petition purchasers an undue burden, an unneccesary “next step”

to obtain a title and registration. This is grossly unfair to these recent purchasers and actually creates

risk to the estate that some or all of these post-petition buyers will attempt to rescind, thereby causing

substantial harm to the estate and its creditors. This is another reason for the appointment of a

chapter 7 trustee in these proceedings. As Judge Isicoff observed in In re Sundale, Ltd., 471 B.R.

300 (Bankr. S.D. Fla., 2012) at Page 307, a chapter 7 trustee may have “a more objective view to

resolution of conflicts” with the lenders since “…all issues relating to claims administration lie only

with the trustee.”   Undersigned undertook his best efforts to obtain agreements with all secured

creditors and was successful in doing so with the exception of NextGear Capital. Perhaps a chapter

7 trustee might fare better than the Debtor-in-Possession as it has been unable to come to terms with

NextGear Capital ever since the wrongful repossession it undertook on July 27, 2017. It should be

noted that two (2) of the wrongfully-seized vehicles are consignments that Debtors-in-Possession
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have already sought to reject pursuant to their 365 Motion [ECF No. 135]. NextGear proposes to

liquidate these consigned vehicles as implied by their Emergency Motion for Relief from Stay [ECF

No. 224] which erroneously claims that the Debtor has no interest in the vehicles it claims it

repossessed, pre-petition (See In re Garcia, 276 B.R. 699 (Bankr. S.D. Fla. 2002) where this

Honorable Court held that a debtor retains a “significant” ownership interest in vehicles that have

been repossessed, pre-petition and that such interest continues until such time as a new certificate of

title has been issued pursuant to F.S. §319.28. Garcia, supra at 702 and 7040.) While Debtors-in-

Possession maintain that NextGear violated the automatic stay of 11 U.S.C. §362 as to at least 7 of

the 9 cars repossessed, the Garcia holding is nevertheless applicable to the case at bar and is an

important consideration in establishing what constitutes property of these bankruptcy estates

pursuant to 11 U.S.C. §541.

       9.      Given that Flagler Bank and NextGear Capital must sort-out their competing stay

relief motions [ECF Nos. 138 and 188] (presumably through the previously-filed 506 adversary,

Case No. 17-01339-PGH), and further given undersigned’s right to a surcharge [ECF No. 205] and

the existence of substantial 547 preference claims, the funds remaining in the DIP accounts should

not be disturbed, pending appointment of a Chapter 7 trustee. Additionally, there are outstanding

obligations that require payment (essentially accrued payroll and title fees incurred and to be incurred

in completing the post-petition sales). The facts and circumstances of this difficult case require

further forensics to determine the validity of the creditors’ claims. As there are no funds from which

to retain such a professional, appointment of a chapter 7 trustee is indicated.

       10.     Dismissal should not be considered.         Based upon an analysis of the 90-day

preferential payments made to the secured creditors in this case pursuant to 11 U.S.C. § 547, a

Chapter 7 Trustee will have preference claims in the approximate amount of $8,495,589.16. The
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Court should note that NextGear Capital received $4,850,034.06 in the 90-days prior to the July 27,

2017 filing date and Flagler Bank received $2,003,456.03. (See attached Exhibit 3). As shown on

the third page of Exhibit 3, Mr. Phelan found that $1,414,617.75 of this amount paid to NextGear

was not properly recorded on the books of Chariots of Palm Beach, Inc. The extraordinary value of

these preference claims should be preserved for the benefit of all of the estate’s creditors and for

payment of the administrative expenses of this estate so that NextGear (or Flagler Bank as the case

may be) should not benefit at the expense of the other secured and unsecured creditors in this case.

While the right to recovery must first be determined by judgment, it should be noted that 11 U.S.C.

§502(d) would otherwise require NextGear or Flagler Bank to satisfy the preference claim in order

to have any claim in these proceedings whether under chapter 7 or chapter 11.

        11.     Given the aforementioned facts and circumstances and given the right of the Debtors-

in-Possession to elect conversion to chapter 7 pursuant to 11 U.S.C. §1112(a) as subsections (a)(1),

(2) or (3) are not implicated in these proceedings, the Debtors-in-Possession feel it is in the best

interests of the creditors and the estate that these proceedings be converted to chapter 7 on an

expedited basis. Without cash collateral, chapter 7 provides the best avenue for protection of the

estate’s creditors given the complexities of this matter and the competing claims and interests.

        12.     The Debtors-in-Possession respectfully request 30-days, post-conversion, in which to

file any application for compensation or other application for payment of any administrative expense.

        WHEREFORE, the Debtors-in-Possession respectfully request this Court enter an order, on

an emergency expedited basis, converting these chapter 11 proceedings to chapter 7 and for such

other and further relief as is just and proper.




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                                         I Hereby Certify that I am admitted to the Bar of the
                                         United States District Court for the Southern District of
                                         Florida, and that I am in compliance with the additional
                                         qualifications to practice in this court set forth in Local
                                         Rule 2090-1(A).
Dated: September 17, 2017




                                         Respectfully submitted,

                                         McLAUGHLIN & STERN, LLP
                                         CityPlace Office Tower – Suite 1700
                                         525 Okeechobee Boulevard
                                         West Palm Beach, FL 33401
                                         Tel: (561) 659-4020
                                         Counsel for Debtor-In-Possession Chariots of
                                         Palm Beach, Inc. and H&S, Inc.

                                         By: /s/ Steven S. Newburgh
                                            STEVEN S. NEWBURGH, ESQ.
                                            Florida Bar No. 348619




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                               CERTIFICATE OF SERVICE


       I hereby certify that a true copy of the foregoing has been furnished this 17th day of

September, 2017, via CM/ECF to all persons authorized to receive notices, electronically, as set

forth on the attached Service List and by U.S. Mail, postage prepaid, to all parties listed on

the attached Service List who are not authorized to receive notices, electronically, through the

Court’s CM/ECF in addition to service by U.S. Mail, postage prepaid to all interested parties and

creditors as shown on the attached Court Mailing Matrices and to the Office of the United States

Trustee, 51 S.W. First Avenue, Suite 1204, Miami, FL 33130.




                                                    By: /s/ Steven S. Newburgh_________
                                                        STEVEN S. NEWBURGH, ESQ.
                                                         Florida Bar No. 348619




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                                          SERVICE LIST


Mailing Information for Case 17-19455-PGH
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

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   •   Stuart A Young syoung@ybplaw.com


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Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service for this
case (who therefore require manual noticing/service).

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       Delray Beach, FL 33482

       Michael Phelan
       c/o Michael Moecker & Assoc
       1883 Marina Mile Blvd #106
       Ft Lauderdale, FL 33315

       Ronald Zimmer
       POB 6513
       Delray Beach, FL 33482


Mailing Information for Case 17-19458-PGH
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

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   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service for this
case (who therefore require manual noticing/service).

   •   (No manual recipients)




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